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Reply to: New Jersey

March 28, 2023
VIA ECF

Honorable Peter G. Sheridan, U.S.D.J.

United States District Court for the District of New Jersey
Clarkson S. Fisher Building, & U.S. Courthouse

402 East State Street, Room 2020

Trenton, NJ

RE: United States of America v. Anthony Villanueva and Drew Inman
Criminal Case No.: 19cr 292 (PGS)

Dear Judge Sheridan:

Please accept this letter memorandum in support of my motion to suppress the on the

body audio and video films taken by Trenton Police Officers on April 9, 2017.

The audio portions of these recordings should not be admitted in the governments case
because they are classic hearsay. Fed R. of Evidence 801. They are out of court declarations that
are being offered for the truth of the matter asserted. It is clear that the government will offer the
statement of these officers to prove the truth of what they saw, what they heard and what they
said in order to prove the actions of the alleged victim during the course of the incident, as well
as the reasonableness of the actions taken by the defendants. They are hearsay statements that do
not fit into any of the recognized exceptions to the rule and should not be submitted to the

jury. Even if the statements were submitted to the jury with a limiting instruction that they are

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not offered for the truth of the matter, but merely that the statement was made, there is a huge
danger and even likelihood that the jury will misuse the statement in violation of the limiting
instruction or at the very least cause confusion in the jury’s mind as to the probative value of the
recordings. For this reason, any probative value is substantially outweighed by the likelihood of
unfair prejudice to the defendants and the recordings should be excluded pursuant to Rule 403 of
the Fed. R. of Evidence. The suppression of these recordings does not leave the Government

without alternatives. They can call the witnesses and let them testify and be subjected to cross

examination all other witnesses.

The video portions of the recordings should be excluded because without the audio
portion there is little probative value to the recordings and the likelihood of unfair prejudice and

confusion is increased and therefor Rule 403 dictates that they should also be excluded.

In addition, there is a separate and even more compelling reason to exclude both the
audio and video recordings. The recordings merely memorialize what the other officers who
recently arrived on the scene saw and heard. There is no evidence being offered that confirms
that the defendants saw or heard the same events that the other officer's cameras
recorded. Keeping in mind that the other officers at the scene arrived much later than the
defendants and did not participate in the extended chase or observe the extraordinary measures
taken by the alleged victim, all the while repeatedly ignoring and defying the officers’ orders to
halt and submit to their authority. The only relevant inquiry in this case must be what the
defendant officers saw and heard and whether their conclusions were reasonable under all the

circumstances.
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It is totally irrelevant and serious error to even suggest to the jury that the conduct of the

defendant officers should be based at all on what the other officers saw and hear.

As the government states itself in their submitted request to charge, "The relevant inquiry
is the reasonableness of the officer’s belief as to the appropriate level of force, which should be
Judged from the officers on scene perspective and not in the 20/20 vision of hindsight." And
certainly the defendant officers actions should not be judged by what other, newly arriving on the

scene, officers saw, heard or even concluded.

For these reasons this Court should preclude the government from using the on body

camera recordings by the non-defendant officers.
Respectfully,
Serome LL, Ballaratte
Jerome A. Ballarotto

JAB/taw
